 Ae 91 (Rev_- 11/l 1) Criminal Complaint
                                                                                                                                                                    FILED
                                           UNITED STATES DISTRICT COURT
                                                                                                                                                                 rEB 2 8 2020
                                                                            for the                                                                  PETER A. MOORELiJf--., ~~.:RK
                                                                                                                                                  !Y .
                                                                                                                                                      us DISTFPRT, EDNC                                DEPCLK
                                                           Eastern District of North Carolina •',




                     United States of America                                   )
                                     v.                                         )
                                                                                )
                                                                                )
                                                                                       C~e No . .5: 2 0                -mj -/2I1-J{j
                      Carlos Enrique Jimenez
                                                                                )
                                                                                )
                                                                                )
                               Defendant(s)


                                                           CRIMINAL COMPLAINT
             I, the complainant in this case, state that the following is tTUe to the best of my knowledge and belief.
 On or about the date(s) of --;-~.--. ()ctober29, 2019                       .. _-._,,.. in the county of -----··::-~~~ ·--,-·-.,,,,_,in the
 ...:·o   -~~~~e~ "·•· .: District of "'-           NPr:t!'! y~P?.!!9~ ,_ . . , the defendant(s) violated:
                Code Section                                                              Offense Description

 18 U.S.C. Section 22.52A(a)(5}(B) .                      Possession of Child Pornography




             This crimjpal complaint is basell. on these facts:
 See attqched affidavit.




             0 Continued on the attached sheet.




On1hisday.    Ctl141ct-- /\Jf) '<'-'~
appeared before me via reliable elcctroni~ m~ans,
w~s platocd under oath, and attcslcd 10 the ·
contents of this Compl;tinL


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                                                                                                                             Judge 's sig11C11w·e

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                                                                                                         United States Magistrate Judge James E. Gates
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                                                                                                                       . Printed name arid 111/e




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                        IN THE UNITED STATES DISTRICT COURT
                     FOR EASTERN DIS.TRJCT OF NORTH CAROLINA
                                WESTERN DIVISION

                                AFFIDAVIT IN SUPPORT OF
                                A CRIMINAL COMPLAINT

       I, Craig Noyes, being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND


        l.     I am a Special Agent with the Federal Bureau of Investigation (FBl), and have been

employed with the FBI since January of 2007. Your affiant is currently assigned to the Charlotte

Division, Raleigh Resident Agency, North Carolina, to investigate violations offederallaw. Your

affiant is assigned to the Joint Terrorism Task Force (JTTF) and primarily investigate:> matters

involving domestic and international terrorism, including those laws related to the federal

violations below.    Furthermore, your affiant has conducted, as well as assisted other law

enforcement officers, with physical surveillance, search warrants, and arrests of persons involved

in relation to violations of federal law. Between 2002-2007,_prior to joining the FBI as a Special

Agent, you affiant practiced law in the State of North Carolina as a licensed attorney.


       2.      Investigations handled on the JTTF occasionally uncover criminal behavior

unrelated to the underlying predication. fQr the initial investigation.   ln such a case, the JTTF

generally maintains investigative responsibiJity but utilizes the expertise of fellow FBI Special

_Agents who regularly investigate said criminal behavior.

       3.      The facts in this affidavit. come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show simply that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.




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            4.       Based on the facts as set forth in this affidavit, there is probable cause to   believe

     that CARLOS ENRIQUE JIMENEZ (JIMENEZ), DOB March 6, 2000, knowingly received and

     possessed child pornography and visual depictions of minors engaged in sexually explicit

     conduct, in Yiolation of 18 U.S.C. Sections 2252A(a)(5)(B).

                                            APPLICABLE STATUTES

            5.       l 8 u~s.c. Section J.252A(a)(5)(B) makes it unlawful for any person to knowingly

     access with intent to view,. any book, magazine, periodical, film, videotape, computer disk, or

     any other materi~l that ~ontains an image of child pornography that has been mail, or ~hipped or

     transported using any means or facility of interstate commerce or in or a:ffectii1g interstate or

     foreign commerce by any means, including by computer, or that was produced using materials

     that have been malled, er shipped or transported in or affecting interstate or foreign commerce by

     any means, including by computer.

                                            PROBABLE CAUSE


            6.       On February 20, 2020, the FBI learned of an ongoing investigation being ·

     conducting by the North Carolina State Bureau oflnvestigation (NC SBI) involving the possession

     of child pornography by JIMENEZ.

            7.      As background, on or about September 1, 2019, the parents of a 13 year old boy

     (victim) reported to the Arlington Police Department in Arlington, Texas that their son was asked

     to create and send nude photos of himself online. The victim agreed to do. this in exchange for

     images depicting nude girls his own age. A review of the victim's phone did not recover any

     messages in which the victim was asked to create and send nude photos of himself, likely because

     the victim had deleted them after the photos and messages were discovered by his parents and

     before !aw enforcement was notified. A review of the phone's web history did discover several.
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cloud storage links that contained images depicting what appeared to be child pornography'. Four

(4) such cloud storage links were hosted by Mega Limited (Mega), a cloud storage and file hosting

service based in New Zealand.

        8.       Upon finding the links, an Arlington PD Detective notified Mega of the specific

links containing child pornography.       Mega disabled the links and provided basic records

information for the accounts associated with the links. One of links was registered to email address

aacortez54(a),gmail.com. The session details for the account registered t_9 aacortez54@gmail.com

showed the account had five (5) unique IP addresses that accessed the account. The most recent

·access was from IP address 71.69.230.20, which accessed the account on June 7, 2019       a~   19:15

 UTC and on June 8, 2019 at 3:56 UTC.

        9.       Arlington PD then obtained the subscriber information for IP address 71.69.230.20.

The IP address was registered to Irma Cruzado, 4932 Royal Adelaide Way, Raleigh, NC. The
                      )

 Arlington PD then notified the NC SBI as to the results of their investigation.

        10.      On or about October 29, 2019, the NC SBI executed a search warrant at 4932 Royal

 Adelaide Way, Raleigh, NC based on the information provided by the Arlington PD. The search

recovered an Apple iPhone 8 from .JIMENEZ. An examination of JIMENEZ's iPhone             id~ntified


30 images that appeared to depict child pornography, with        the majo~ity   of those 30 images

depicting prepubescent children, both boys and girls. AH but one of the 30 images were contained

in the file path for an instant messaging application known as Kik Messenger. The following are

descriptions of five of the 30 images, which were in the file path forKik Messenger:

              a. Image 1;




                                                  3 ..




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                I b325l?54~a20l-43b2-bbaea3dd5eb5c11 e_embedded_1Jpg depicts an image of a

                completely nude, prepubescent female child approximately 6 to 8 years of age
                                                                          /
                laying on her back with legs.spread apart displaying her genitals.

             b. Image2:

                29b720ae-1080-437e-9l 70-c021 e541bel6_embedded_Ljpg depicts an image of a

                prepubescen,t mal_e child approximately 10 to 12 years of age wearing only a red t.:

                shirt with his legs spread apart displaying his genitals and anus.

             c. Image3:

                99dd9a82-6eda-4c93-b83d-6ccfblf289.G_embedded_Ljpg depicts an image of a

                completely nude, prepubescent female child approximately 4 to 8 years old laying

                on her back with her legs spread apart displaying her genitals.·

             d. Image 4:

                805e4efd-cl9e-444b-8947-6f73cabfb966_embedded_l.jpg depicts an image of a

                prepubescent female childappro:ximately 10 to 12 years old conducting oral sex on

                a prepubescent male approximately 8 to 12 years old.

             e. Image 5:

                e3879944-64cf-4481-9987-cccff70899e4_embedded_l.jpg depicts an image of a

                prepubescent female child approximately 10 to 12 years old exposing her genitals

                holding_ a handwritten sign that states, "fuck my cunt!!!"

       11.      The examination of JlMENEZ's iPhone also to.cated a folder for Mega.nz in the

phone's database. Links to the cloud storage Mega were located in the web history of the Puffin

Browser as well.



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       12.      JIMENEZ was interviewed during the execution offhe search wan-ant by the NC

SBI. Jimenez made the following statements:

             a. JIMENEZ stated' be was "fucked up in the head" an:d "had a lot of mental ·

                problems." JIMENEZ commented.that he struggled with anxiety and depression.

                JIMENEZ stated his anxiety had progressed to the point that he did not leave his

                residence and often stayed in his room.

             b. When asked whether he had ever accessed material that depicted the sexual

                exploitation of children,.JJMENEZ initially stated he "was not into that shit."

             c. JIMENEZ discussed his desire to be "edgy," and commented he sometimes sent

               . things to people for "shock value."

             d. After the NC SBI confirmed there was child sexual exploitation matel'ial on his

                phone, JIMENEZ stated he had just been curious.. He stated he had been sent child

                sexual exploitation material over KIK. messenger, after he accessed a random chat

                room.

             e. JIMENEZ did not recall using Mega, or any other cloud storage account to store

                child sex:ual exploitation material.

             f. JIMENEZ did not recaH sending child sexual exploitation material to anyone, but

                if he did, he stated he was only for "shock value" of it.

             g. JIMENEZ confirmed· he was the person in the residence who had accessed child

                pornography.




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                                          CONCLUSION


       13.     Based on the foregoing, your affiant respectfufly asserts there is probable cause to

believe that Jim\;:nez knowingly possessed child pornography and visual depictions of minors

engaging fo sexual explicit conduct that had been mailed, or shipped or transporte• using any

means or facility of interstate or foreign commerce or in or affecting interstate   or foreign commerce
by any means, including by computer, in violation. of 18 U.S.C. Section 2252.A.(a)(S)(B).



                                          \


So attested under penalty of perjury, this ·7,)~ day of February, 2020.



                                                          CRA!~~~
                                                          Special Agent
                                                          Federal Bureau of Investigation



On· this day,     C/llttG-         ('J,syU                          appeared before me via reliable
electronic means, was placed mider oat~,      ·and attested to the contents of this affidavit.




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